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                              IJM TED STATESDISTRICT COG T
                              SO U TH ERN D ISTR ICT O F FLO R IDA
                                               !
                                     C A SE N O . 19-C R-20178-C M A


      U M TED STATE S O F AM ER ICA



      R O BER T SH APIR O ,

                          D efendant.
                                                   /
                                                   '
  .




                                         PLEA A G R EEM E N T

            TheUnitedStatesAttom ey'sOftkefortheSouthem DistrictofFlorida(GçthisOffice''land
      RobertShapiro(hereinafterreferredtoasthetr efendanf')enterintothefollowingagreement:
                   TheDefepdantagreesto plead guilty to Cotmts 1and 10 oftheIndictment. Cotmt

      1chargestheDefendantwith conspiracy tocom mitm ailfraudandwirefraud,inviolation ofTitle

      18,United StatesCode,Section 1349. Count10 chargestheDefendantwith evasion ofpaym ent

      offederalincometaxes,inviolationofTitle26,UnttedStatesUode,Section7201.TheDefendant
      acknowledgesthathehasread a11ofthe chargesagainstllim contained in theIndictm entandthat

      thechargeshavebeen fully explainedto him by hisattorney.

                   ThisOfliceagreesto seek dism issalofCounts2 thiough 9 ofthe Indictm ent,asto
      tM sD efendant,atsentencing.

            3.     The Defendant is aware that the sentence willbe imposed by the Cotlrtafter

      considezing the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter
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   çGsentencing Guidelines''). TheDefendantackno4ledgesand tmderstandsthattheCourtwill
   computean advisory sentencetmderthe Sentencing Guidilinesand thattheapplicableguidelines

   willbedeterminedbytheCourtrelyingin parton theresultsofapre-sentenceinvestigation bythe

   Court'sprobation oflke,which investigation willcom menceaftertheguiltypleahasbeen entered.

   The Defendantis also aware that,tmder certain circllmstances,the Courtmay depart9om the

   advisory sentencing guideline range thatithascom puted,and m ay raise orlowerthatadvisory

   sentence tmderthe Sentencing Guidelines. TheDefendantisf'urtheraware and understandsthat

   the Courtisrequired to considerthe advisory guideline range determined tmderthe Sentencing

   Guidelines,butisnotbotmdtoim poseasentencewitllinthatadvisoryrange;theCourtispermitted

   totailortheultimatesentencein lightofotherstatutory concerns,and such sentencemaybe either

   m oresevereorlessseverethan the Sentencing Guidelines'advisory range. Knowing thesefacts,

   the Defendant understands and acknowledges thatthe Courthms the authority to impose any

   sentencewithinanduptothestatutorymaximllm authodzedby 1aw fortheoffensels)identified         &
   inparagraph 1andthattheDefendantm ay notwithdraw thepleasolely asaresultofthesentence

   imposed.

         4.     The Defendantalso tmderstands and acknowledges thatthe Courtm ay impose a

   stamtorymaximtlm term ofimpdsonmentofuptotwenty(20)yearsasto Count1,anduptofve
   (5)yearsasto Cotmt10.Thesesentencesofimprisonmentmayberun consecutively,'foratotal
   sentenceof25years'impzisonment.In addition toanyperiod ofim pdsonm enttheCourtmay also

   imposeaperiod ofsupervisedreleaseofuptothree(3)yearsto commenceattheconclusionof
   theperiodofim prisqnment,astoeach count.In additiontoaterm ofimprisonm entand supervised

  zrelease,asto Cotmt1,the Courtm ay im posea fineofup tothe greaterof$250,000,pttrsuantto
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      18U.S.C.j3571(a)(3),ortwicethepecllniarygainorlosscausedbytheoffense,ptlrsuantto 18
                                                                           '
                                                        y

      U.S.C.j3571(d),andmay orderforfeittlreandrestitution.AstoCbtmt10,theCourtmayimpose
      afineofup to $100,000 and costsofprosecution,andm ay orderforfeimre and restittztion.
                     '
                     l'he Defendant further tmderstands and qcknowledgçs that, in addition to any
      '
                                                              #   .
      sentence imposed undeyparagraph 4 ofthis agreem ent,a specialassessm entin the nm olmtof

      $100.00 willbeimposed asto each cotmt,fora totalof$200.00. The Defendantagreesthatany
      specialassessm entimposed shallbepaid atthetim eofsentencing.IftheDefendantisfinancially

      tmableto pay thespecialassessment,theDefendantagreesto presentevidenceto tM sOfficemld
  .
      theCourtatthetime ofsentenèing asto thereasonsfortheDefendant'sfailtlretopay.

             6.      TllisOffice reservesthe rightto inform the Courtand the probation office ofall

      factspertinenttothesentencingprocess,includingallrelevmltinform ationconcem ingtheoffenses

      committed,whether charged or not,as wellas concerning the Defendantand the Defendant's

      backgrotmd. Subjectonlytotheexpresstennsofany agreed-upon sentencingrecommendations              #
      contained in this.ap eem ent,thisOfticefurtherreservestherightto m akeany recomm endation as

      to the quality and quantity ofp lnishm ent.

             7.      TheD efendantshallprovidethe Probation O ffice and counselforthe U àited States

      with a 111,completeand accuratepersonalfinancialstatemehtwithin fortpfive (45)daysof
      adjudication of guilt as contemplated in this Plea Agreement. If the Defendant provides
      incompleteortmtrtzthfulstatementsin hispersonalfinancialstatem ent,orfailstotim ely provide

      llis personal financial statement, such action shallbe deemed a m aterialbreach of tllis Plea

      A p eem ent and the United States shall be free to pursue al1 appropriate charges against the

      oefendantnotwithstanding any agreements to forbear rrom bringing additionalchmves,or to
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   dismisscounts,otherwise setforth in thisPleaAgreem ent.

                 Tltis Offke agreesthatitwillrecommend atsentencing thatthe Courtreduce by

   twolevelsthesentencingguidelinelevelapplicabletotheDefendant'soffense,pursuantto Section
   '




   3E1.1(a)oftheSentencing Guidelines,based upon theDefendant'srecognition and aftsrmative
   and tim ely acceptance ofpersonalresponsibility. If atthe tim e ofsentencing the Defendant's

   offense level is determined to be 16 or greater,this Office will tile a m otion requesting an

   additionaloneleveldecreasepursuantto Section 3E1.1(b)oftheSentencing Guidelines,stating
   thatthe Defendanthas assisted authorities in the hw estigation orprosecution ofthe Defendant's

   own misconductby tim ely notifying authorities ofthe Defendant's intention to enter a plea of

   guilty, thereby permitting the governm ent to avoid prepadng for trial and pennitting the

   governm entandtheCourttoallocatetheirresourceseftk iently.TllisOfsce,however,willnotbe

   requiredtomaketllismotionandsentencingrecommendationiftheDefendant:(a)failsorrefuses
   to m ake a fu11,accuzate and complete disclosm e to the probation office ofthe circllm stnnces

   surroundingtherelevantoffense conductandtheDefendant'spresentfnancialcondition;(b)is
                                                                                                    à
   found to have misrepresented factsto the governm entpdorto enteting into thisplea agreem ent;

   or(c)commitsanymisconductafterenteringintotllispleaagreement,includingbutnotlimitedto
   committing astateorfederaloffense,violating anyterm ofrelease,orm nking falsestatementsor

   misrepresentationsto any governmentalentity oroflicial.

                 TheDefendantisawarethatthesentencehasnotyetbeen detenninedbytheCourt.

   The Defendantisalso aware thatany estimate oftheprobablesentencing range orsentence that

   the defendantm ay receive,whetherthatestim ate com es9 om theD efendant'sattorney,tllisOflk e,

   or the probation offce,is a prediction,not a prom ise,and is notbinding on this Oflk e,the
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   probation oftk e orthe Court. The defendantunderstandsfurtherthatany recomm endation that

   thisOfficem akesto the Courtasto sèntepcing,whetherptlrsuantto tMsagreementorotherwise,

   isnotbinding on theCourtand the Courtm ay disregard the recom mendation in itsentirety. The

   defendantunderstandsand acknowledges,aspreviously acknowledged in paragraph 3above,that

   the Defendmlt m ay not withdraw llis plea based upon the Court's decision not to accept a

   sentencing recom mendation made by the Defendant,tllis Oftk e,or a recomm çndation made

   jointlybytheDefendl tandtlzisOffice.
          10.   Atthe tim e of sentencing,the Defendantwillbe 9ee to argue fora vadance or

   departure from the advisory sentencing guidelinesrange,asdeemed appropriate by hiscotmsel.

   ThisOfficewillbe9eetoseekanysentence,includingasentencewitiintheadvisorysentencing
                                                                                      .   !
   guidelinesrange,anduptothestatutorymaxlmum oftwentyfive(25)years'imprisonment.
          11.   ThisOffice and the Defendantagree that,although notbinding on the probation          V
   officeortheCourt,they willjointlyrecommendthattheCourtmàkethefollowingfmdingsand
   conclusionsastothesentenceto beimposed:

          (a)    BaseOffenseLevel:
                 TheDefendant'sbaseoffenselevelisseven(7),perU.S.S.G.j2B1.1(a)(1);
          ())    Loss:

                 The Governm entassertsthatthe Defendant's offense levelshallbe increased by

                 tlzirty (30)levelsptlrsuanttoU.S.S.G.j2B1.1(b)(1)(O)becausethe actualloss
                 caused to investors by the D efendant's offense conduct was m ore thm1

                 approxim ately $250,000,000,butlessthan approximately $550,000,000;
                 The D efendant reserves the l'ight to contest the loss am otm t at sentencing,and
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               assertsthatthe Defendant'soffenselevelshallbe increased by twenty-two (22)
               levelsptlrsuantto U.S.S.G.j 2B1.1(b)(1)(L)because the Defendant's gain that
               resulted from theoffensewasmorethan $25,000,000,butlessthan $65,000,000;

         (c)   M assMarketing/substantialFinancialHardship:
               TheDefendant'soffenselevelshallbeincreasedbyatleasttwo(2)levels,ptlrsuant
               toU.S.S.G.j2B1.1(b)(2)(A),becausetheoffense involvedten ormorevictims,
               andwascom mittedthroughm assmarketing,and/orresulted in substantialfinancial

               hardstlipto oneormorevictims. This Office reservesthe dghtto argue thatthe

               Defendanths.offense.level.
                                        m ay insteadbeincreasedbyfotlr(4)levels,pursuantto
                                                                  1

               U.S.S.G.j2B1.1(b)(2)(B),iftheoffenseresultedin substantialfmancialhardship
               to5ormorevictims;anduptosik(6)levels,pursuanttoU.S.S.G..j2B1.1@)(2)(C),
               iftheoffenseresulted in substantialfinancialhardship to 25ormorevictim s;
                                                                                               S
         (d)   ViolationofAnyPriorOrder:
               The Defendant'soffense levelshallbeincreased by two (2)levelsptlrsuantto
               U.S;S.G.j2B1.1(b)(9)(C),becausethe offense involved aviolation ofany prior,
                                              ,




               specific judicial or administrative order, injtmction, decree, or process not
               addressed elsewherein theguidelines;

         (e)   SophisticatedMeans:
               The Defendant'soffense levelshallbe increased by t'Wo (2)levelsptlrsuantto
               U.S.S.G.j2B1.1(b)(10)(C)becausetheoffensehwolvedsophisticatedmeans,and
               the Defendant intentionally engaged irl or caused the conduct constituting

               sophisticated m eans;
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          (f)        RoleEnhancement- Orcanizer/Leader:
                     The Defendant'soffense levelshallbeincreased by four(4)levelsptzrsuantto
                     U.S.S.G.j 3B1.1(a),astheDefendantwasat'
                                                           lorganizerorleaderofa criminal
                     activitythatinvolved fiveorm oreparticipantsorwasotherwiseextensive;and

          (g)        VulnerableVictims:
                     TheUnited StatesreservestherighttoarguethatD efendant'soffenselevelshallbe

                     increased bytwo(2)levélsptlrsuanttoU.S.S.G.j 3A1.1(b)(1),astheDefendant
                     knew,orshould haveknown,thatavictim ofthe offensewasavulnerablevictim .
                 .
                     T11is Oftk e.and the Defendant have not reached any agreem ent as to the

   applicabilityornon-applicabilityofany specificoffensecharacteristicsorChapter3 adjustments
   otherthan assetforth in paragraphs8 and 11ofthisagreement.

          13.        The Defendant agrees,irlan individualand any other capacity,to forfeitto the

   United States,vollmtarily and immediately,a11rights,title,and interest,ptlrsuantto 18U.S.C.j
                                                                                                    S
   981(a)(1)(C),to any property,realorpersonal,which constimtesoris dedved from proceeds
   traceabletotheoffenseofconviction.In addition,theDefendantap eesto forfeitureofsubstimte

   propertyptlrsuantto 21U.S.C.j853(19. Theproperty subjecttoforfeitureincludes,butisnot
   lim itedto:

                     a.    aforfeituremoneyjudgmentin atleastthesllm of$100million inUrtited
   Statescurrency,wllich sllm represents.thevalueoftheproperty subjectto forlkiture,and in any
   event,notlessthan theamotmtoflossdetermined by theCourtatsçntencing;

                     b.    directly forfeitableproperty,including,butnotlim itedto:

                     (i)   A11assetsondepositinaccolmtnumber4040774877atAlpineBnnk,held

                                                   7
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   in thename ofCarbondaleBasaltOwnersLLC;

                (ii)   A11assetson depositinaccolmtnumber8900003424atAlpineBnnk,held
   in thename ofDavanaSherm an OaksOwnersLLC;

                (iii) A11assetson depositinaccotmtnllmber8970196989atAlpineBnnk,held
   inthenam eofM idland Loop EnterprisesLLC;

                (iv) Ai1assetsondepositinaccountnumber36044043514atCapitalOneBnnk,
   heldinthennm eofJeriShapiro;

                (v)    A11assetson depositin accountnllmber80-27009771atEastW estBnnk,
   held in thenmneofDavanaPdm roseVenturesLLC;

                (vi) Al1assetson depositin accotmtnllmber20-27007984 atEastW estBnnk,
   held inthennm eofJeriL Shapiro;

                (vii) A1lassetson depositin accotmtnllmber80-27010068atEastW estBnnk,
   heldin thenam eofRelianceM arketing SolutionsLLC;

                (viii) A11assetson depositi.
                                           n accountnllmber80-27010381atEastW estBnnk,
   held in thenam e ofSettlem entD epotLLC;

                (ix) A1lassets on depositin accotmtnllmber X96-267462 at Fidelity Cash
   M anagem ent,held in thenam eofJeriShapiro;

                (x)    A11assetson depositinaccotmtnllmber197148628atRegionsBnnk,held
   in thenam eofComm ercialBridge LendersLLC;

                (xi) Al1assetson depositin accotmtnllmber2010131932 atTimberlineBnnk,
   held in thename ofGolden M esaVenturesLLC;

                (xii) Allassetson depositin accotmtmlmber2010131940atTimberlineBnnk,

                                                 8
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   heldin thenameof Golden Pdm rose VenturesLLC;

                 (xiii) Allassetgondepositinaccountnllmber157514954443atUSBank,heldin
   thennme ofJed Shapiro'
                        ,

                 (xiv) One (1) l8-karat,white gold,banglebracelet,with 550 round dinmonds
   (12.50carats)and 1,434blackdinmonds(24.92carats);
                 (xv) One (1)pairofl8-karai,wllitegold,drop eanings,with 1,344 round-cut
   dinmonds(13.80caratsl;
                                                                                           /
                 (xvi) One (1) pair of l8-karat,wlliie gold,button eanings,with 162 round
   dinmonds(13.89caratsl;
                 (llArii) One(1)pairofl8-karat,wllitegold,dropenningswith99yellow sapphires
   (1.10 carats),117 tsavorites(1.18 carats),125 blue sapphires (1.38 carats),124 bluediamondâ
   (1.36 carats), 120 amethysts (1.24 carats),120 pink sapphires (1.18 carats),and 125 orange
   sap/llires(1.26carats);
                 (xviii) One(1)pairofl8-karat,whitegold,drop earringswith 22emeralds(35.53
   carats)aridround-cutdiamonds(7.18caratsl;
                 (xLx) One(1)pairof l8-karat,rose gold,golden pead enningswith round-cut
   diamonds(.39carat);
                 (u ) Oné(J)pairofl8-karat,rosegold,dropenningswithround-cutdinmonds
   (.62carat);
                 (u i) One(1)pairofl8-karat,rosegold,dropearringswithrubies(38.90carats);
                 (xxii) One(1)emerald anddinmondring;
                 txxiii) One(1)platinllm ringwith certified Colombiaemerald-cutemerald (9.54
                 '




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   carats),eightt'
                 rapezoid-cutdinmonds(2.09 carats),and 166rotmd-cutdinmonds(1.42carats);
                 (u iv)..One(1)pairofl8-karat,whitegoldenningswithmulti-colorpearls(11.8-
   15.5mm)androtmd-cutdinmonds(.98carat);
                 (u v) One (1)platinllm dng with oval-cutruby (10.91 carats),two trapezoid
   dinmonds(1.19carats),and70rotmd-cutdinmonds(2.08carats);
                 (u vi) One (1) l8-karat,rose gold,bangle braceletwith rotmd dinmonds (1.50
   caratsl;
                 (u vii) One (1) l8-karat,white gold,bangle braceletwith rotmd dinmonds(1.5
   caratsl;
                 (u viii)One(1)pairofl4-karat,wllitegold,dropearringswithtwoblackdinmonds

   (
   61.
     81carats),twoi
                  cygreydi
                         amonds(
                               23.
                                 92carats),'
                                           t
                                           worose-cutdi
                                                      amonds(.
                                                             36carat
                                                                   ),and266 JV
   rotmddinmonds(1.63carats);
                 (u ix) One (1) l8-karat,yellow gold ring with 13 radiant-cutdinmonds(13.83
   caratsl;mld
                 (u x) One(1)1969M ercury convertible,beadngVehicleIdentiscationNllmber
   (G:VlN'')9F92M 565911.
                        substituteproperty,including,butnotlim itedto:

                 (i)    Thewine collection stored at4030Longridge;

                 (ii)   A cashier'scheckfor$250,0009om EastW estBnnk;
                 (iii) A M ortgagePaymentmadeoutofEastW estBnnk of$399,867.67;
                 (iv) Al1assets on depositin accountnllmber226157004 atRegions
          Bnnk,heldinthename ofLionshareLending LLC;and


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                  (vi) Anyoutstandingbalanceofcreditsin.
                                                       TPM organChaseandCiticard
           creditcards.

           14.    TheDefendantfartheragreesthatforfeitureisindependentofany assessm ent,fine,

   cost,restitution,orpenalty thatm ay be imposed by the Court. The Defendantknowingly and

   voluntadly agrees to waive a11 constitm ional,legal,and equitable defenses to the forfeiture,

   including excessive fines tm der the Eighth Am endm ent to the U nited States Constitution. In
                  '
              .


    addition,theDefendantagreestowaive'
                                      : anyapplicabletimelipitsforadministrativeorjudicial
    forfeitureproceedings,therequirementsofFed.R.Crim.P.32.2and43(a),andanyappealofthe
    forfeiture.


    l 15. TheDefendantalsoagreestofulyandt
                                         rut
                                           hfllydiscl
                                                    osetheexi
                                                            stence,nat
                                                                     ureand X
    ocation of a11assets in w hich the D çfendanthas orhad any director indirectfm ancialinterestor

    èontw l,and any mssetsinvolved in theoffense ofconviction. The Defendantalso agreesto take

    a11stepsrequested by the Urlited Statesforthe recovery and forfeiture ofa11assetsidentified by

   theUnited Statesassubjecttoforfeittlre.Thisincludes,butisnotlimitedto,ihetimelydelivery
    upon requestofa11necessary and appropriate docllm entation to delivergoöd and m arketable title,

    consentingtoa11ordersofforfeiture,andnotcontestingorim pedingin any way with any criminal,

    civiloradm inistrativeforfeitureproceeding concerningtheforfeiture.

           16. In furtherance ofthe satisfaction ofa forfeituremoneyjudgmententered by the
    Cotlrtinthiscase,theDefendantagreesto the following:

                  a.      subrnitaVmancialstatementtothisOfficeupon request,withinaten

                          (10)calendardays9om therequest;



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                              m aintain a11assetsvalued in excess of $10,000,and notsell,hide,
                              waste,encllm ber,destroy,orotherwisedevalue such assetswithout

                              priorapprovaloftheUnited States;

                              cooperate fully in.the investigation arld theidentitk ation ofassets,

                              including liquidating assets,m eeting with representatives of the

                              United States,and providing any docllm entation requested;

                 d.           notify,within 30 days,the Clerk of the Cottrtfor the Southem

                              Distdct ofFlorida and this Oflke of:(i) any change ofnnme,
                      .   .
                              residence, or mailing address, and (ii) any material change in
                              econom ic circllm stances.

          17.    The Defendantfurtherunderstandsthatproviding false orincomplete inform ation          y
   aboutassets,concealing assets,m nk'
                                     1ng m atezia11y false statementsorrepresentations,ormnking

   orusingfalsem itingsordocllmentspertainingtoassets,tnkinganyictionthatwouldimpedethe
   fqrfeiture öf assets,orfailing to cooperate fully in the hwestigation and identification ofassets

   may beused asa basisfor:(i)separateprosecution,including,tmder18 U.S.C.j 1001;or(ii)
   recomm endation ofadenialofareduction foracceptance ofresponsibility ptlrsuanttotheUnited

   StatesSentencingGuidelinesj3EI.I.TheDefendantfurtheragreesthatforfeitureisindependent
   ofany assessm ents,fines,costs,restitution orders,orany otherpenalty thatmay be imposed by

   theCourt.

                 TheDefendantacknowledgesthatbecausethepffensesofconviction occurredafter

   Apdl24,1996,restitution ism andatory withoutregard to theDefendmlt'sability to pay and that




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   the Courtmustorder the Defendantto pay restitution for the fu11loss caused by his cdm inal

   conductpusuantto18U.S.C.j3663A.
           19. TheDefendantisawarbthatTitle 18,United StatesCode,Section 3742andTitle
   28,United StatesCode,Section 1291 aflbrd him thedghtto appealthe sentènce imposed in this

   case.Aclcnowledgingthis,inexchange?ortheundertaldngsmadeV theUnitçdStatesintllisplea
   agreem ent,theDefendanthereby waivesa11rightsconferred by Sections3742 and 1291toappeal

   any sentence imposed,including any forfeiture orrestitm ion ordered,orto appealthe mnpnerin

   which the sentencewasim posed,lmlessthe sentenceexceedsthem aximum penuitted by statute
                          $
   oristheresultofan upward departureand/orupward vadancef'
                                                          rom the advisory guideline range

   thatthe Courtestablishesatsentencihg. The Defendantfurthertmderstandsthatnothing in this

   agreemeùtshallaffectthegovernment'szightand/ordutytoappealassetforthinTitll18,Urlited
                                                                                                        &
    StatesCode,Section 3742(19 and Title28,United StatesCode,Section 1291. However,ifthe
   United Statesappealsthe Defendant'ssentence ptlrsuantto Sections3742(b)atld/or 1291,the
   Defendantshallbereleased from theabovewaiverofappellaterights.By signi
                                                                        'ng thisagreem ent,

   the Defendantacknowledgesthatthe Defendanthasdiscussed the appealwaiversetforth in this

    agreem entwith theDefendant'sattorney.TheDefendantfurtheragreeg,togetherwiththisOffice,

   to requestthattheCourtenteraspecificfindingthattheDefendant'swaiverofllisdghtto appeal

   thesentencetobeimposed inthiscasew asknowing andvoltmtary.
                                                                              h

                  R'heDefendantagreestofullycooperatew1111theIntemalRevenueService(çû1RS'')
   in itscivilexnmination,determination,assessm ent,and collection ofincom etaxesrelated to the

    Defendant'spersonalincome tax returns for the tax years 2000 through 2019,and any related

    corpoiate/entity tax rettlrns, and further ap ees not to conceal, transfer, or dissipate fhnds or


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   propertythatcouldbeused to satisfy such taxes,penalties,and interest. TheDefendantagreesto

   providetheIRS any docum entation in theDefendant'spossession and/orcontrolrequested by the

   IRS in connection '
                     with its civilexnm ination,determ ination,assessm ent,and collection ofsuch

   incom e taxes prior to sentencing. The Defendant furtherknowingly and voltmtarily agreesto

   waive any statute of limitations with respect to assessm ent and collection of the Defendant's

   individualand corporate/entity tax liabilitiesconcerningtax years2000through 2019.

          21.     Nothingin tllisagreem entshalllim ittheIR.S in itscivildetermination,assessment,

   and collection ofany taxes,interest,and/orpenaltiesthattheDefendantmay owe.

                  TheDefendantagreesthatthetmpaid taxesthatrem ain dueand owing tothem S,

   excludinginterestandpenalties,forhispersonalincom etaxesforthetax years2000through 2019

   willbe payable to the IRS as restitution. The am olmt due and owing is more than at lemst              &
   approxim ately $6,061,134,with theexactnm otmtto be detenninedpdorto sentencing.

                  TheDefendantaw eesthatany statem entsm adeby theDefendanttothelRS and/or

   in thisagreementshallbe admissibleagainsttheDefendantwithoutany lim itation in any civilor

   crim inalproceeding andtheDefendantstipulatesto the authenticity and adm issibility,in any civil

   or crim inal proceeding,of any documentation provided by the D efendant to the IRS. The

   Defendanthereby Waivesany protection afforded by Rule410 ofthe FederalRules ofEvidence

   andRule1149 oftheFederalRulesofCriminalProcedurewithregardtoanysuchstatementsand
   docllm entation. In the eventthattheDefendantwithdrawsfrom tllisap eementpriorto pleading

   guilty and/orfails to fully com ply w ith any ofthe term s ofthis plea agreem ent,the U nited States

   * 11,atitsoption,bereleasedâom itsobligationstmdertllisagreement,butundernocircllmstances




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   .   shalltheDefendantbe released 9om the agreem entsand waiversm ade by thé Defendantin thiq
                                                                                    '
          .                       .                                       . .   .



       and the preceding three pazagraphs.

                     Defendantagreesthatifhe failsto comply with any ofthe provisionspftllijplea
                                                           /
                                                           .

       agreem ent,including the failtlre to tenderitto the Court,m akes false or misleading statem ents

       beforethe Courtorto any agentsoftheUnited States,comm itsany furthercrim es,orattemptsto

       withdraw theplea(priortoorafterpleadingguiltytothechargesidentifiedin paragraph one(1)
       above),this Office willhave the rightto characterize such conductas a breach ofthis plea
       agreement.Intheeveniofsuchabreach:(a)thfsOfficewillbefree9om itsobligationsunderthe
       P1eaapeementandirthermaytakewhateyerpositionitbelievesappropriateastothesentence
       and the conditionsofthe Defendant'srelease(forexnmple,should theDefendantcommitany                 V
       conductafterthe date ofthis plea agreem entthatwould form the basis for an increase in the

       Defendant'soffenselevelorjustifyanupwarddeparture-examplesofwhich includebutarenot
       limitedto,obstruction ofjustice,failureto appearforacourtproceeding,cdminalconductwhile
       pending sentencing,and false statementsto 1aw entbrcem entagents,the Probation Ofûcer,or

       Court- thisOffice isfreeunderthisagreem entto seek an increase in the offense levelbased on

       thatpost-agreementconduct);('
                                   b)theDefendantwillnothavetherighttowithdraw theguiltyplea;
       (c)theDefendantshallbefullysubjecttocr
                                            .iminalprosecution foranyothercdmeswhichhehas
       committed ormightcommit,ifany,including perjury and obstnzction ofjustice;and (d)the
       DefendantwaivesanyprotectionsaffordedbySectionIB1.8(a)oftheSentencingGuidelines,Rule
       11oftheFederalRulesofCdminalProcedtlreandRule410oftheFederalRulesofEvidence,and

       thisOflicewillbefreetouseagainsttheDefendant,directly and indirectly,in anycrim inalorcivil

       proceedingany oftheinfonnation,statements,andm aterialsprovidedbyhim pursuanttotllisplea


                                                     15
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   agreem ent,including offedng into evidence or otherwise using the attached Stipulated Facm al

   Profferatatrialastotherem aining countsofthe Indictm ent,oron othercharges.

                 In exchange forthe tmdertalcingsherein,this Office agrees to enter into a non-

   prosecution agreementwith theDefendant'swife,Jed Shapiro (t:M s.Shapiro'). A copy ofthe
   non-prosecution ap eem entforM s.Shapiro hasbeen provided to the Defendantand hiscounsel

   pdortothechangeofpleahenring.TheDefendantacknowledgesand ap eesthathehasreview ed

   and discussed the term s of the non-prosecution agreem entof llis wife,M s.Shapiro,with his

   attorney. Specitk ally,theDefendanttmderstandsthat,in thenon-prosecution agreem ent:

       * TllisOfficeisagreeing notto prosecute M s.Shapiro forfederalcdm inaltax offensesfor
         tax yer s2013 through 2018 tmderTitle26 oftheUnited StatesCode and/ortmderTitle
         18oftheUrlited StatesCode,insofarasany such offensesm ay adse outofherindividual
         federalincom e tax rett
                               m ls for those years orthe corporate retum s of herem ployer for
         thoseyears,theçGW oodbridgeGroup ofCom paaies,''lorany otherbusinessorcom mercial
                                                                                                   %

   l      Forthe purposes ofthis agreement,the W oodbddge Group of Compnnies includesthe
   following entities:

           (a) W oodbridge Group of Companies, LLC td/b/a W oodbridge W ealth)
   (çGW oodbridge'')wasa Sherman Oaks,Californiaubased finmlcialservicescompany formed in
   2014;

           (b)   W oodbridge M ortgage Investment Fund 1, LLC, W oodbddge M ortgage
   Investm entFtmd 2,LLC,W oodbridgeM ortgageInvestm entFund 3,LLC,W oodbddgeM ortgage
   Investm ent Ftmd 3A, LLC, W oodbridge M ortgage Investment Fund 4, LLC, W oodbridge
   Comm ercialBddgeLoan Fund 1,LLC,and W oodbddge Comm ercialBridge Loan Fund 2,LLC
   (collectively,çGW oodbddgeFtmd Companies'')wereDelawarecompaniesformed between 2010
   and 2015,al1ofwhich werecreated toacton behalfofW oodbzidge;

          (c) W M FM anagement,LLC (çGW M F'')wasaCaliforniacompanyformedin2012mld
   createbtoactonbehalfofW oodbridge;
                                       '                                                    k
          (d) W oodbddge Structured Ftmding,LLC,a/k/a W oodbddge Structured Funding of
   FloridaaLLC,(1GW SF'')wysaDelawarecompanyformedin2009and createdtoactonbehalfof
   W oodbddge;

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          entity in w ilich shehasan ownersllip interestorthatsheoperated on behalfofherhusband,
          theDefendant,forhisuse and benefit.z         ' ' '''' '''=-' ' :''''----'-'----''''''-'' ''''
                                                                                                      --':-'''.
                                                                                                              -

       @ ThisOfficeisfurtheragreeing nottoprosecuteM s.Shapiro forany otherfederalcrim inal
         fraud,m oney laundeting,and tax offensesthrough thedateoftllisplea agreem entrelated
         to the W oodbridge Group ofCom paniesand theadditionalentitiesnnm ed herein,and a11
         relatedfm ancialandbusinesstransactions,includingbutnotlim itedto conductcomm itted
          bytheDefenéantandllisco-conspirators,asoutlinedintheIndiètmentinthiscase.
       * M s.Shapiro isagreeing to consentto the forfeiture ofspecifc assetsand bnmk accotmts
         identified by thisOftk e.

       * In the'eventthattheDefendantatany timefilesam otion to withdraw from llisguilty plea
         in tlliscase,this Oftk e will,atitsoption,bereleased from itsobligationstmderthe non-
         prosecution agreementw ith M s.Shapiro,butunderno circllm stancesshallM s.Shapiro
         bereleased from her obligationstmderthe non-prosecution agreem ent.D Furtherm ore,in
          theeventthat:(a)M s.Shapirowithdrawsfrom thenon-prosecutionagreement;or(b)M s.
          Shapiro fails to fully com ply w ith any of the term s of the non-prosecution ap eem ent;
          and/ortheDefendantfailsto fully comply with any termsoftllispleaagreement,this
          Offk e * 11,atits option,be rele% ed from itsobligations.underthisplea agreement,as



         (e)     W oodbridgeRealtyofColoradoCGW oodbridgeRealtf'lwasaColoradocompany
   formedin 2014 and createdto acton behalfofW oodbridge;

         (9      M ercerVine,Inc.(çtM ercerVine'')Fasa Californiacoporation formed in 2014
   and createdto acton behalfofW oodbridge;

         (g)     RiverdaleFtm'ding,LLC (ttlliverdale'')wasaDelawarecorporationformedin2012
   and createdto acton behqlfofW oodbddge;and

         (h)     RSProtectionTrust(GIRSTrusf'lwascreatedtmderNevadalaw irl2013andserved
   asaholdingtrustfortheassetsofW oodbddge,W M'F,W SF,and approxim ately two-hundred and
   seventptwo(272)otherW oodbridgeassociatedDelawareandColoradocompanies.
          These entities include, but are not limited to:3X A Chnrm LLC;Archway M asters
   Construction LLC; Beem an Studio City LLC ; Carbondale B asalt Owners LLC; Carbondale
   Pdm rose Ventures; Commercial Bddge Lending; Davana Prim rose Ventures LLC; Davana
   Sherm mzOaksOwnersLLC;204DerbyAveLLC;DirectInstlranceSourceLLC;lnTrend Staging
   LLC ;Golden M esa V entures LLC;G olden Prim rose V enturesLLC;JS Fnm ily Trust;M esa Glen
   Enterprises LLC;M idland Loop Enteiprises LLC; M oorpark Boca Funding LLC; Reliance
   M arketing Solutions LLC ; Riverdale Ftm ding LLC; Schw artz M edia Buying Com pany LLC;
   Seaview M oorpark RealEstate Investm entLLC ;Settlem entD epotLLC ;Sum m itSherm an Oaks,
   LLC;and StoverRealEstatePnrtnersLLC.
                                                 17
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                     w ell as tmder the non-prosecution agreement,but under no ckcum stances shall M s.
      -= . . ..:.n'
'în ---           .
                  -V'
                    -éshapiro-be-reldased from herobligationsunderthe'nonuprosdcutiçn-agreement.
                                                                                               'f'' ' '

                  @ Thenon-prosecution ap eem entwith M s.Shapiroshallonlybebindingon thisOflk e,the
                    United StatesAttorney'sOfficeforthe Southem DistrictofFlorida,and doesnotbindany
                      otherfederal,state,local,o'rforeign prosecuting authority otherthan tllisOftk e.N othing
                      in thenon-prosecution agreementshallprecludethe InternalRevenue Service (G:IRS'')
                     from com mencing,continuing,orbringing civiltax proceedingsofany kind and foràny
                     yearwith respecttoM s.Shapiro orany otherindividual,corporation,orentity.

                     26.       Tlzis isthe entire plea agreementand understanding between tlzis Offce and the

              Defendant. There areno otheragreem ents,promises,representationsortmderstandings.

                                                       A IUAN A FA JAR D O O RSH AN

                                                       > 1 ED STATES ATTORN EY
                                                           H ERN D ISTY CT OF FLORID A
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              Date:4#2cI9                          By:
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                                                                                                     '

                                                          R      CRUZ                                       '
                                                          LI H .M ILLER
                                                          A SSISTAN T UN ITE TA TES ATT              EY S
                                                          SO U THERN D IST   T OF FLO  A



              Date:ephj
                     /'    r
                                                    By:
                                                          R OBERT SH APIR O
                                                          DEFEN D AN T



              Date:vyhN                             By:RY               M       W
                                                                    W IGH O'QUINN,ESQ.
                                                          E        GERSHONI,ESQ.
                                                           O       SEL FOR R OBERT SH A PX O




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